    Case: 1:19-cv-03179 Document #: 85 Filed: 08/03/20 Page 1 of 2 PageID #:769




                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

                                             )
  MARK TREADWELL,                            )
                                             )
                Plaintiff,                   )
                                             )    No. 19 C 3179
           v.                                )
                                             )    Judge Virginia M. Kendall
  CHICAGO POLICE OFFICERS                    )
  DAVID SALGADO (#16347),
  XAVIER ELIZONDO (#1340), and               )
  the CITY OF CHICAGO, Illinois,             )
                                             )
                Defendants.                  )

                                        ORDER

       Before the Court is Plaintiff Mark Treadwell’s Motion to Lift the Stay of
Discovery. [Dkt. 62]. The Court entered a limited stay as to Defendants Elizondo
and Salgado on August 5, 2019. [Dkt. 37]. The Court previously inquired as to
whether the continued maintenance of the stay of proceedings as to Salgado and
Elizondo was appropriate considering the Supreme Court’s ruling in Heck v.
Humphrey, 512 U.S. 477 (1994). [Dkt. 56]. Both Plaintiff and Defendants agree that
Heck does not apply here so the Court will analyze whether a stay is appropriate in
this civil case based on the existence of a criminal proceeding. The factors the Court
looks at include: (1) whether the civil action involves the same subject matter as the
criminal investigation, and whether the government initiated both proceedings; (2)
the posture of the criminal proceeding; (3) the public interests at stake; (4) judicial
efficiency; (5) the prejudice, if any, that a stay would cause the civil plaintiff; (6) the
prejudice that the defendant will suffer if a stay is not issued. Salcedo v. City of
Chicago, 2010 WL 2721864, at *2 (N.D. Ill. July 8, 2010); U.S. v. All Meat and Poultry
Products Stored at Lagrou Cold Storage, 2006 WL 27119, at *2 (N.D. Ill. Jan. 4, 2006).
       In considering the above, the Court agrees that a lift of the stay is appropriate.
This claim has been brought by a private citizen, Treadwell, as relates to an alleged
illegal search, seizure and imprisonment instigated by Defendants Salgado and
Elizondo. As Treadwell acknowledges in his civil complaint, the conduct at issue in
the criminal complaint is similar to the alleged misconduct in his civil action. [Dkt. 1
¶ 2]. However, neither the criminal indictment, nor the counts the defendants were
convicted of, specifically relates to Plaintiff. The Government did present evidence
                                            1
    Case: 1:19-cv-03179 Document #: 85 Filed: 08/03/20 Page 2 of 2 PageID #:770




regarding the fraudulent warrant that lead to Treadwell’s arrest at the criminal trial
and Treadwell did testify on March 11, 2020. [Dkt. 62 at 3]. But considering the
remaining factors, the Court believes that greater prejudice will arise if a stay is
continued than if discovery is proceeds with restrictions so as not to implicate the
Fifth Amendment concerns of Defendants Salgado and Elizondo. Defendants have
recently been sentenced and have already filed appeals. United States v. Elizondo, et
al., 18 CR 286, Dkts. 197, 200, 207, 211. Substantial prejudice to Plaintiff will arise
if discovery is stayed until the appeal has been decided and judicial efficacy will not
be met if discovery is delayed further.
       The Court acknowledges that there are important Fifth Amendment concerns
here and that Defendants could be prejudiced. Yet, as discussed by another Northern
District of Illinois Court, “[t]raditionally a defendant who has been convicted loses
his Fifth Amendment privilege and can be compelled to testify about the acts
constituting the offense of conviction.” All Meat and Poultry Products Stored at
Lagrou Cold Storage, 2006 WL 27119, at *3 (citing Reina v. United States, 364 U.S.
507, 513 (1960)). The Court there found “scant authority” pertaining to whether the
privilege continues through direct appeal. Id. (citing Frank v. United States, 347 F.2d
486, 491 (D.C.Cir.1965) (“the Government may not convict a person and then,
pending his appeal, compel him to give self-accusatory testimony relating to matters
involved in the conviction”); Mills v. United States, 281 F.2d 736, 741 (4th Cir.1960)
(privilege against self-incrimination continued through “the period within which [the
defendant] could prosecute an appeal of her own conviction.”). Assuming the
Defendants can still assert their Fifth Amendment privileges, the appropriate path
to take is one where the Defendants are permitted to present that right and have the
issue briefed before the Court especially due to the fact specific nature of the legal
issue.
      Therefore, the stay is lifted and any Fifth Amendment issue will be raised with
the Court as it arises. Plaintiff’s Motion to Lift Stay [Dkt. 62] is granted.




                                        ____________________________________
                                        Virginia M. Kendall
                                        United States District Judge
Date: August 3, 2020




                                          2
